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DECLARATION OF SERVICE
ACOIS LLC v. ADVANTECH CO., LTD, W.D. Tex. Case No. 6:23-cy-00882-ADA

I, Zi-Jie Chang, hereby depose and state as follows:

1. [am associate of the International Department of Washington Group &
Associates, a Taiwanese law firm. I am over the age of 18, competent to testify
in this action and have personal knowledge of the facts stated below.

2. I certify that on March 5, 2024, I caused true and correct copies of the following
documents:

Summons in a Civil Action; Complaint for Patent Infringement (and 5
exhibits thereto)

to be delivered in the manner indicated, as follows:

Via Taiwan Chunghwa Post Registered Mail to:

ADVANTECH CO., LTD.

No. 1, Alley 20, Lane 26, Rueiguang Road,

Neihu District, Taipei 114 ,

Taiwan

3. True and correct copies of all delivery receipts for the documents listed above
are attached as Exhibit A hereto.
I certify and declare under the penalty of perjury of the laws of the United States that

the foregoing is true and correct.

Signed this 22" day of March, 2024 at Taipei, Taiwan.

fi Jie Chong
Zi-Jie Chang y
Washington Group & Associates

51 Hengyang Road, Taipei,
Taiwan

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EXHIBIT A

